                                                                                                                        Page 1 of 7


                                IN THE UNITED STATES DISTRICT COURT FOR THE
                                               WESTERN DISTRICT OF MISSOURI
                                                 SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                                        Case No.: 11-5044-01-CR-SW-RED

TODD C. SMITH

                                                                            USM Number: 23632-045

                                                                            Erica Mynarich, CJA
                                                                            Mynarich Law LLC
                                                                            218 South Main Street, Suite 2
                                                                            Joplin, MO 64801
___________________________________

                                                JUDGMENT IN A CRIMINAL CASE


The defendant was found guilty on August 17, 2012, of Count 1 of the Indictment. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense(s):

                                                                                            Date Offense             Count
          Title & Section                               Nature of Offense                    Concluded             Number(s)

 18 U.S.C. 2251(a) and (e)               Sexual Exploitation of a Minor                  September 24, 2011            1

The defendant is sentenced as provided in the following pages of this judgment

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                            Date of Imposition of Sentence: December 20, 2012



                                                                            __S/ Richard E. Dorr_____________________
                                                                            RICHARD E. DORR
                                                                            UNITED STATES DISTRICT JUDGE

                                                                            December __20___,2012




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 1 of 7
TODD C. SMITH                                                                                                   Page 2 of 7
11-5044-01-CR-SW-RED

                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of Life.

         The defendant is remanded to the custody of the United States Marshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                          __________________________________
                                                                                 UNITED STATES MARSHAL


                                                                       By:__________________________________
                                                                                   Deputy U.S. Marshal




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 2 of 7
TODD C. SMITH                                                                                                            Page 3 of 7
11-5044-01-CR-SW-RED

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of Life.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or employment;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
         person convicted of a felony, unless granted permission to do so by the probation officer;

10.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
         law enforcement officer;



AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 3 of 7
TODD C. SMITH                                                                                                            Page 4 of 7
11-5044-01-CR-SW-RED

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.



                              ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also comply with the following additional conditions of supervised release:

1.       The defendant will not associate or have any contact with persons under the age of 18, except in the presence of a
         responsible adult who is aware of the nature of the defendant’s background and current offense and who has been
         approved by the Probation Office.

2.       The defendant shall successfully participate in any sex offender counseling, which may include the submission to
         polygraph testing to assist in treatment planning and/or monitoring, as directed by the Probation Office. The defendant
         shall also pay any associated costs as directed by the Probation Office.

3.       The defendant shall comply with all state and federal sex offender registration requirements.

4.       The defendant will not have contact with the victim in this case. This includes any physical, visual, written, telephonic
         or electronic contact with such person. Additionally, the defendant shall not directly or indirectly cause or encourage
         anyone else to have such contact with such person.

5.       The defendant’s place of residence may not be within 1,000 feet of schools, parks, playgrounds, public pools, or other
         locations frequented by children.

6.       The defendant is barred from places where minors (under the age of 18) congregate; such as residences, parks, pools,
         daycare centers, playgrounds and schools, unless prior written consent is granted by the Probation Office.

7.       The defendant will neither possess nor have under his/her control any matter that is pornographic/erotic; or that
         describes sexually explicit conduct, violence toward children or child pornography [as described in 18 U.S.C. 2256(2)
         and (8)], including photographs, images, books, writings, drawings, videos, and electronic material.

8.       The defendant shall submit to a search of his person, and any property, house, residence, vehicle, papers, computer,
         other electronic communication or data storage devices or media, and effects at any time, conducted by a U.S.
         Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
         or evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
         defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition

9.       The defendant shall consent to having installed any hardware or software systems on his/her computer(s), to monitor
         computer use. The defendant shall pay any associated costs as directed by the Probation Office.

10.      The defendant shall not maintain or create a user account on any social networking site (i.e. Myspace, Facebook,
         Adultfriendfinder, etc.) that allows access to person under the age of 18, or allows for the exchange of sexually explicit
         material, chat conversations, or instant messaging. The defendant shall not view and/or access any web profile users
         under the age of 18.

11.      The defendant shall consent to third-party disclosure to any employer, or potential employer, concerning the history,
         characteristics, criminal background or any computer-related restrictions that have been imposed.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 4 of 7
TODD C. SMITH                                                                                                        Page 5 of 7
11-5044-01-CR-SW-RED

                                      ACKNOWLEDGMENT OF CONDITIONS

       I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have
been provided a copy of them.

        I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

_______________________________________                 ____________________
Defendant                                               Date

________________________________________                ____________________
United States Probation Officer                          Date




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 5 of 7
TODD C. SMITH                                                                                                                                  Page 6 of 7
11-5044-01-CR-SW-RED

                                                CRIMINAL MONETARY PENALTIES


       The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

             Total Assessment                                         Total Fine                                     Total Restitution

                      $100                                                 $0                                      not to exceed $10,000


          The defendant shall make restitution (including community restitution) to the following payees in the amount listed
below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all
nonfederal victims must be paid in full prior to the United States receiving payment.

          Defendant is hereby ordered to begin payment immediately and continue to make payments to the best of his ability
until this obligation is satisfied. While in custody defendant is directed to participate in the Bureau of Prisons Financial
Responsibility Program, if eligible, and upon his release from custody he shall adhere to a payment schedule as determined
by the Probation Office.

        IT IS ORDERED that restitution be paid in an amount not to exceed $10,000. Restitution shall be paid as bills are
presented to the Probation Office for reimbursement of expenses of Victim A.M. as related to the offense in this case.
Payments are to be made through the clerk’s office for reimbursement to victim’s mother Lisa McCarthy and then to Victim A.M.
when she becomes of age.




                             Name of Payee                                          Total Loss                     Restitution Ordered

 Lisa McCarthy (parent of Victim A.M.)                                                                   not to exceed $10,000
 15273 Ibex Rd.
 Neosho, MO 64850-5307


         The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                       Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 6 of 7
TODD C. SMITH                                                                                                     Page 7 of 7
11-5044-01-CR-SW-RED

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lump sum payment of $100 special assessment shall be due immediately.

       Lump sum payment of restitution is ordered due immediately. If unable to pay the full amount immediately, the
defendant shall make payments of at least 10 percent of earnings while incarcerated.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                     Case 3:11-cr-05044-DGK Document 62 Filed 12/21/12 Page 7 of 7
